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                  EXHIBIT 1
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 PREMIER, INC,

                Plaintiff,

        v.
                                                       Civil Action No. 24-3116 (LLA)
 HEALTH RESOURCES AND SERVICES
 ADMINISTRATION, et al.

                Defendants.


 DEFENDANTS’ CROSS MOTION FOR SUMMARY JUDGMENT AND OPPOSITION
         TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Pursuant to Rule 56, Defendants the Secretary of Health and Human Services and the

Administrator of the Health Resources and Services Administration respectfully move the Court

for an order granting summary judgment in their favor. As grounds for this motion, Defendants

respectfully refer the Court to the attached memorandum of points and authorities. A proposed

order is also attached herewith.

 Dated: May 9, 2025                          Respectfully submitted,

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                                             United States Attorney


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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


PREMIER, INC,

           Plaintiff,

     v.
                                               Civil Action No. 24-3116 (LLA)
HEALTH RESOURCES AND SERVICES
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           Defendants.


MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’
CROSS MOTION FOR SUMMARY JUDGMENT AND OPPOSITION TO PLAINTIFF’S
                 MOTION FOR SUMMARY JUDGMENT
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       Defendants the Secretary of Health and Human Services, and the Administrator of the

Health Resources and Services Administration (“the Agency”) respectfully submit this

memorandum of points and authorities in support of their motion for summary judgment.

                                       INTRODUCTION

       Certain covered entity hospitals cannot qualify to purchase drugs under the 340B Drug

Discount Program if the hospitals purchase those drugs through a group purchasing organization.

42 U.S.C. § 256b(a)(4)(L)(iii). The Agency learned, through its program integrity initiatives, that

some covered entities were attempting to bypass this prohibition by making initial purchases of

drugs through a group purchasing organization and then replenishing those drugs at the 340B price

after the drugs were dispensed to a 340B eligible patient. In 2013, the Agency published guidance,

in the form of a Policy Release advising covered entities subject to the group purchasing

prohibition that these arrangements violated the statute. Release 2013-1.

       Plaintiff Premier, Inc. is a group purchasing organization (GPO). Plaintiff sought to begin

offering its disproportionate share hospital clients the option to make their initial purchases of

drugs that are ultimately dispensed to 340B disproportionate share hospitals through their GPO

accounts. Accordingly, Plaintiff petitioned the Agency to revoke the 2013 guidance or grant

Plaintiff an exemption from the guidance. The Agency declined to take either action, and Plaintiff

filed suit under the Administrative Procedures Act (“APA”) asking the Court to set aside the 2013

Policy Release. 5 U.S.C. § 706(2).

       The Agency is entitled to summary judgment in its favor. First, the 2013 Policy Release

restated the requirements of the statute and therefore was not contrary to law. Second, because the

2013 Policy Release tracked the statutory requirements, the release was an interpretive rule that

did not require legislative rulemaking. Third, because the 2013 Policy Release was consistent with
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the statute, neither the Agency’s decision to publish it or its refusal to allow Plaintiff an exemption

from following it was arbitrary and capricious.

                                         BACKGROUND

I.     Statutory and Regulatory Background

       In 1992, Congress created the 340B Program, administered by the Secretary of Health and

Human Services, through which certain safety-net healthcare providers, including hospitals,

community health centers, and other federally funded entities (collectively known as “covered

entities”) serving low-income patients could receive drug price reductions. See Veterans Health

Care Act of 1992, Pub. L. No. 102-585, § 602, 106 Stat. 4943, 4967–71 (1992), codified at § 340B,

Public Health Service Act, 42 U.S.C. § 256b (1992). The 340B Program has dual benefits: Drug

discounts “enable these entities to stretch scarce federal resources as far as possible, reaching more

eligible patients and providing more comprehensive services,” and may directly benefit uninsured

and underinsured patients when covered entities opt to pass along the discounts by helping patients

afford costly medications. H.R. Rep. No. 102-384, pt. 2, at 12 (1992).

       To achieve these benefits, Congress directed the Secretary to enter into an agreement,

known as a Pharmaceutical Pricing Agreement “with each manufacturer of covered outpatient

drugs under which the amount required to be paid … to the manufacturer for [such] drugs . . .

purchased by a covered entity . . . does not exceed [the ceiling price].” 42 U.S.C. § 256b(a)(1).

The ceiling price is derived from components of each drug’s “average” and “best” price as

calculated under the Medicaid Drug Rebate Program. Id. Each pricing agreement “shall require

that the manufacturer offer each covered entity covered outpatient drugs for purchase at or below

the applicable ceiling price if such drug is made available to any other purchaser at any price.” Id.;

see also, 58 Fed. Reg. 27,289, 27,291 (May 7, 1993). In essence, the statute requires participating

drug manufacturers to offer their pharmaceutical products to covered entities at reduced cost. 58


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Fed. Reg. at 27,289. Examples of qualifying covered entities include federally qualified health

centers that serve populations such as the homeless, uninsured, and rural populations, family

planning clinics, entities providing outpatient early intervention services for HIV diseases, state-

operated AIDS drug assistance programs, black lung clinics, hemophilia diagnostic treatment

centers, and Native Hawaiian health centers. See generally, 42 U.S.C. § 256b(a)(4).

       A hospital that serves a disproportionate share of low-income patients, known as a

disproportionate share hospital 42 U.S.C. § 1396a(a)(13)(A)(iv), is one such type of covered entity.

42 U.S.C. § 256b(a)(4)(L). For a disproportionate hospital to qualify as a covered entity under the

340B Program, the hospital must be, a private nonprofit hospital under contract with state or local

government to provide health care services to low-income individuals who are not eligible for

Medicare or Medicaid, owned or operated by a unit of state or local government, or a public or

private nonprofit corporation that is formally granted governmental powers by a unit of state or

local government. 42 U.S.C. § 256b(a)(4)(L)(i). To continue to qualify as a covered entity, a

disproportionate share hospital is prohibited from purchasing “covered outpatient drugs through a

group purchasing organization or other group purchasing arrangement.” Id. § 256b(a)(4)(L)(iii).

In other words, a disproportionate share hospital cannot obtain a 340B discount on an otherwise

covered outpatient drug if the hospital purchases covered outpatient drugs through a group

purchasing organization. 59 Fed. Reg. 25,110, 25,113 (May 13, 1994) (AR 084).

       On February 7, 2013, the Agency released a policy clarifying the “340B Program policy

regarding the statutory prohibition against obtaining covered outpatient drugs through a group

purchasing organization for certain covered entities.”          Health Resources and Services

Administration, 340B Drug Pricing Program Notice, Release No. 2013-1 (AR 086). The purpose

of the policy release was to “further explain and clarify [the Agency’s] position on questions that




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have arisen as the marketplace has changed.” Id. The Agency reiterated that a covered entity

subject to the group purchasing prohibition cannot use a group purchasing organization “for

covered outpatient drugs at any point in time.” Id. The Agency learned through its 340B Program

integrity initiatives that some hospitals had been purchasing covered outpatient drugs through a

group purchasing organization and then subsequently “either (1) ‘replenishing’ through accounting

by ‘replacing’ the GPO purchased drug with a drug purchased under 340B; or (2) otherwise

reclassifying the method of purchase after dispensing.”      Id. A covered entity violates the

prohibition any time that it uses a group purchasing organization to purchase a covered outpatient

drug and the violation “cannot be fixed or cured by subsequently changing the characterization

through accounting or other methods.” Id. (AR 087-88).

       The Agency warned covered entities that the Agency had not authorized a group

purchasing replenishment model and that a covered entity subject to the prohibition should make

initial purchases using a non-group purchasing account and only replenish with 340B drugs once

340B patient eligibility is confirmed and can be documented through auditable records. Id. (AR

087-88). The Agency reminded hospitals that because the group purchasing prohibition was an

eligibility requirement “covered entities found in violation will be considered ineligible and

immediately removed from the 340B Program.” Id. (AR 088).

       The policy does not prevent disproportionate share hospitals from using a group purchasing

organization to “purchase drugs dispensed to inpatients or to purchase drugs which do not meet

the definition of covered outpatient drug.” 80 Fed. Reg. 52,300, 52,304 (Aug. 28, 2015) (AR 093).

II.    Factual Background

       Plaintiff Premier, Inc. is a self-described “healthcare improvement company” uniting an

alliance of hospitals and other healthcare providers. AR 125. One aspect of the alliance is its

pharmacy group purchasing contract program which, in 2015 included more than 190 suppliers of


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more than 13,900 different products, making it one of the largest group purchasing organizations

for pharmaceuticals.” AR 126. As early as October 27, 2015, Plaintiff contacted the Agency

expressing its opposition to Release No. 2013-1 and urging the Agency to reconsider certain

aspects of the policy. AR 125-34. Plaintiff sent additional comments on September 8, 2017, AR

135-40, July 18, 2018, AR 141-229, November 26, 2018, AR 230-32, and January 25, 2018. AR

233-56.

       Over time, covered entities began to purchase covered outpatient drug through a purchasing

model, often referred to as the product replenishment model. See Release No. 2013-1 (AR 87-88).

Under the product replenishment model, the covered entities purchase an initial supply of a 340B

eligible drug at the wholesale acquisition cost. AR 258. This purchase includes drugs that are

dispensed to 340B and non-340B patients alike. Id. After the covered entity dispenses the

equivalent of a “package-size” of a certain drug to 340B eligible patients, the covered entity

purchases a replenishment stock of the drug at the 340B discounted price. AR 259. Plaintiff

sought to provide disproportionate share hospitals with the option to make their initial purchases

through the hospitals’ group purchasing accounts which would allow the covered entities to

purchase the drugs at lower prices than the wholesale acquisition cost. AR 257.

       On July 27, 2023, Plaintiff contacted the Agency informing the Agency that Plaintiff

intended to begin allowing 340B covered entities subject to the group purchasing prohibition to

make their initial purchases of 340B drugs through the covered entities’ group purchasing

organization accounts. AR 257. Plaintiff acknowledged that in order for Plaintiff to extend this

offer to disproportionate share hospitals, the Agency would need to exempt Plaintiff and its clients

from Policy Release 2013-1 or reverse the policy. AR 257. In its letter, Plaintiff requested that

the Agency confirm, by September 11, 2023, that it agreed that Plaintiff’s proposal is consistent




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with the 340B Statute. AR 263. Plaintiff stated that if the Agency “declines to respond by

September 11, 2023, Premier will reasonably anticipate that [the Agency] has accepted the

arguments contained in this letter and, further, that [the Agency] agrees that this is a lawful

arrangement.” Id. On August 16, 2023, the Agency responded that it was evaluating Plaintiff’s

proposal and that Plaintiff “should not view this communication or the absence of a further

response from [the Agency] by Premier’1s imposed deadline as [the Agency’s] endorsement of

Premier's proposed arrangement or agreement that the arrangement is lawful.” AR 268. Plaintiff

followed up on November 7, 2023, requesting that the Agency “commit to address, with finality,

the issues we raised by December 15, 2023.” AR 267. On December 20, 2023, the Agency advised

Plaintiff that it “does not plan to exempt Premier’s proposed arrangement or reverse its 2013 Policy

Release.” AR 272.

                                      LEGAL STANDARDS

       The Administrative Procedure Act (“APA”) provides that final agency action can be set

aside only if it is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law” or “unsupported by substantial evidence in a case . . . reviewed on the record of an agency

hearing provided by statute.” Citizens to Preserve Overton Park v. Volpe, 401 U.S. 402, 413–15

(1971); see also 5 U.S.C. § 706(2)(A), (E). Courts review de novo issues of statutory interpretation

and “must exercise their independent judgment in deciding whether an agency has acted within its

statutory authority, as the APA requires.” Loper Bright Enters. v. Raimondo, 144 S. Ct. 2244,

2273 (2024); see also U.S. Sugar Corp. v. EPA, 113 F.4th 984, 997 (D.C. Cir. 2024). “Courts

must ‘interpret statutes, no matter the context, based on the traditional tools of statutory

construction.’” Pac. Gas & Elec. Co. v. Fed. Energy Regul. Comm’n, 113 F.4th 943, 947 (D.C.

Cir. 2024) (quoting Loper Bright, 144 S. Ct. at 2268). “Therefore, when ‘addressing a question of




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statutory interpretation, we begin with the text.’” Id. at 948 (quoting City of Clarksville v. Fed.

Energy Regul. Comm’n, 888 F.3d 477, 482 (D.C. Cir. 2018)).

        Agency action is arbitrary and capricious if based on an unlawful interpretation of statute

or regulations, or if it is “not rational and based on consideration of the relevant factors.” FCC v.

Nat’l Citizens Comm. for Broad., 436 U.S. 775, 803 (1978). The Secretary’s factual findings can

be set aside only if they are “unsupported by substantial evidence” in the administrative record. 5

U.S.C. § 706(2)(A); see also Overton Park, 401 U.S. at 413–15. The substantial evidence standard

is satisfied if the final agency decision is supported by “such relevant evidence as a reasonable

mind might accept as adequate to support a conclusion.” Consolo v. Fed. Mar. Comm’n, 383 U.S.

607, 619–20 (1966) (internal quotation marks and citation omitted); see also City of South Bend v.

Surface Transp. Bd., 566 F.3d 1166, 1170 (D.C. Cir. 2009). Substantial evidence is “something

less than the weight of the evidence, and the possibility of drawing two inconsistent conclusions

from the evidence does not prevent an administrative agency’s finding from being supported by

substantial evidence.” Consolo, 383 U.S. at 620 (citations omitted); SEC v. Fed. Lab. Rels. Auth.,

568 F.3d 990, 995 (D.C. Cir. 2009).

                                            ARGUMENT

I.      The 2013 Policy Release Was Consistent with the Text of the 340B Statute.

        When interpreting a statute, the court starts with the text of the statute. Van Buren v. United

States, 593 U.S. 374, 381 (2021) (“We start where we always do: with the text of the statute.”)

The statute specifies the criteria that certain covered entity hospitals need to meet in order to remain

eligible for the 340B Program, and one of those conditions is that the hospital “does not obtain

covered outpatient drugs through a group purchasing organization or other group purchasing

arrangement.” 42 U.S.C. § 256b(a)(4)(L)(iii). Consistent with the statute, the 2013 Policy

Release, or Release 2013-1, advised hospital covered entities subject to the group purchasing


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prohibition that purchasing covered outpatient drugs through a group purchasing organization

violated the group purchasing prohibition even if the purchase is made as part of a replenishment

process. Release 2013-1 (AR 087-88). Nothing in the statute could be construed to provide an

exception for initial purchases made as part of a product replenishment regime.

       Hospitals that elect to use a product replenishment model must make their initial purchase

of drugs that it intends to dispense to 340B-eligible patients at the wholesale acquisition cost.

Release 2013-1 (AR 088). Under Plaintiff’s proposal, a hospital would make an initial purchase

of a drug through a group purchasing organization rather than at the wholesale acquisition cost.

AR 257-58. This purchase would include drugs that the hospital intends to dispense to 340B

patients and non-340B patients alike which creates, in Plaintiff’s words, a “neutral inventory.” AR

258. After the hospital dispenses a unit of one of these drugs to a 340B eligible patient, that drug

is “replenished” at the 340B price. AR 259. Plaintiff seeks to use this arrangement as a

workaround to the group purchasing prohibition. Specifically, Plaintiff argues that the prohibition

only applies to “covered outpatient drugs” and, because a drug does not become a covered

outpatient drug until it is dispensed to an eligible patient, a hospital would not know, at the time

of purchase whether drugs purchased for a neutral inventory will be dispensed to an eligible

patient. Pl. Mot at 27. But Plaintiff does not deny that its proposal would allow hospitals to

purchase some of the drugs that are dispensed to 340B patients through a group purchasing

agreement. Id. The statute does not make an exception for the initial drug purchase of the product

replenishment process. 42 U.S.C. § 256b(a)(4)(L)(iii). A drug purchased through a group

purchasing organization and then dispensed to a 340B eligible patient is a “covered outpatient

drug” obtained “through a group purchasing organization or other group purchasing arrangement.”

Id.




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       Moreover, accepting Plaintiff’s argument would make the group purchasing prohibition

meaningless. As Plaintiff explains, the drugs that accumulate through subsequent purchases

become “‘neutral inventory’ that may be dispensed to any subsequent patient, with appropriate

tracing to ‘accumulate’ the next round of replenishments through either the 340B account or the

non-340B account.’” Pl. Mot. at 13 (quoting, Schneider Decl. ¶ 11 (ECF No. 11-2)). In other

words, not only does a hospital not know which units of a drug from an initial purchase are destined

to be dispensed to a 340B patient, but the hospital also does not have that knowledge for drugs that

it acquires through replenishment. Schneider Decl. ¶ 11 (ECF No. 11-2); see also Pedley Decl. ¶

11 (ECF No. 11-9) (explaining that the replenishment stock “becomes ‘neutral inventory,’ and

may be dispensed to any subsequent patient.”). Thus, under Plaintiff’s logic, a drug obtained

through replenishment also would not yet be a covered outpatient drug which would render the

group purchasing prohibition meaningless. The only difference between a drug obtained through

an initial purchase and stored in a neutral inventory before it is dispensed to a 340B patient and a

drug obtained through the 340B replenishment processes, stored in a neutral inventory and then

dispensed 340B patient, is the step in the replenishment process when the drug is purchased. Both

drugs ultimately become “covered outpatient drugs,” 42 U.S.C. § 256(a)(4)(L)(iii), and “it is an

elementary rule of construction that ‘the act cannot be held to destroy itself.’” Citizens Bank of

Md. v. Strumpf, 516 U.S. 16, 20 (1995) (quoting Texas & Pac. R. Co. v. Abilene Cotton Oil Co.,

204 U.S. 426, 446 (1907)).

       Nothing in the declaration from Office of Pharmacy Affairs Director Krista Pedley that

Plaintiff cites (Pl. Mot at 28-29) contradicts this interpretation. See Pedley Decl. (ECF No. 11-9).

The declaration simply describes Pedley’s understanding of “of how, in general, contract-

pharmacy arrangements work under the replenishment model.” Id. ¶ 3. Nowhere in the declaration




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does Pedley state, or even imply that only replenishment purchases are subject to the group

purchasing prohibition. See generally, Id. In fact, nothing in the declaration addresses the group

purchasing prohibition. Although the statute does not require covered entities to “maintain

separate physical inventories for 340B drugs,” Pl. Mot a 29, the statute does prevent certain

covered entities from purchasing 340B drugs through group purchasing organizations. 42 U.S.C.

§ 256b(a)(4)(L)(iii). Separate inventories are simply one method that covered entities can use to

separate 340B covered outpatient drugs from drugs dispensed to other patients. Covered entities

that choose not to use separate inventories for 340B drugs and non-340B drugs “must have systems

in place to be able to demonstrate that the covered entity is properly accounting for 340B purchases

in a replenishment system.” Pedley Decl. ¶ 12 (ECF No. 11-9).

       Notably, the predicament that Plaintiff describes, where covered entities need to make an

initial purchase at the wholesale acquisition cost is the result of the product replenishment model

that the covered entities have voluntarily opted into. See generally, Pedley Decl. (ECF No. 11-9).

The Agency never mandated that covered entities accept 340B price reductions through the

product replenishment model, rather the Agency had become aware “through its program integrity

initiatives” that covered entities had begun using the product replenishment model to purchase

some 340B drugs through a group purchasing organization. Release No. 2013-1 (AR 087).

       Plaintiff attempts to analogize the arrangement that it seeks to enter with the covered

entities to the facts in Abbott Laboratories v. Portland Retail Druggists Ass’n, 425 U.S. 1 (1976).

Pl. Mot. at 29-30. Although both this case and Abbott Laboratories concerned drug purchases, the

similarities end there. Abbott Laboratories, 425 U.S. at 4, concerned whether the Nonprofit

Institutions Act exempted various types of drug purchases by a non-profit hospital that would

otherwise be subject to the Robinson-Patman Act. As Plaintiff notes, the Supreme Court held that




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whether the exemption applied depended on the purpose for which the drug was dispensed, and

the Court suggested various accounting methods that the hospital could use to track exempt and

non-exempt inventory. Pl. Mot. at 30 (citing Abbott Laboratories, 425 U.S. at 20-21). But for

Abbott Laboratories to be analogous to the system that Plaintiff seeks to adopt, the Court would

need to have permitted a system where some drugs purchased at exempt prices were dispensed for

purposes not subject to any of the exempt purposes, which would be the equivalent of dispensing

drugs to 340B patients that were purchased through a group purchasing organization. Because

such a scenario was not discussed in Abbott Laboratories, the case does not support the position

that Plaintiff seeks to advance in this litigation.

        Accordingly, because the statute does not provide for exceptions to the group purchasing

prohibition for purchases of 340B drugs made at the start of a product replenishment process, the

2013 Policy Release was not contrary to law.

II.     The 2013 Policy Release Was Not a Legislative Rule.

        The 2013 Policy Release clarifying the scope of the group purchasing prohibition was the

Agency’s interpretation of the statute, thus making it an interpretive rule. Perez v. Mortgage

Bankers Ass’n, 575 U.S. 92, 97 (2015) (“the critical feature of interpretive rules is that they are

‘issued by an agency to advise the public of the agency’s construction of the statutes and rules

which it administers”). A legislative rule is one that has legal effect or, alternatively, one that an

agency promulgates with the intent to exercise its delegated legislative power by speaking with

the force of law.” Nat. Res. Def. Council v. Wheeler, 955 F.3d 68, 83 (D.C. Cir. 2020). “[A] rule

has such force only if Congress has delegated legislative power to the agency and if the agency

intended to exercise that power in promulgating the rule.” Am. Min. Cong. v. Mine Safety & Health

Admin., 995 F.2d 1106, 1109 (D.C. Cir. 1993). A legislative rule also “creates new rights or




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imposes new obligations on regulated parties or narrowly limits administrative discretion . . .”

Ass’n of Flight Attendants-CWA, AFL-CIO v. Huerta, 785 F.3d 710, 717 (D.C. Cir. 2015).

       Indeed, “the line between interpretive and legislative rules is fuzzy and enshrouded in

considerable smog.” Nat. Res. Def. Council, 955 F.3d at 83. But the D.C. Circuit explained, “the

question of whether a rule is legislative or interpretive turns on whether the purported interpretive

rule has ‘legal effect.’” Am. Mining Cong, 995 F.2d at 1112. Whether an interpretive rule has

legal effect is determined by asking “(1) whether in the absence of the rule there would not be an

adequate legislative basis for enforcement action or other agency action to confer benefits or ensure

the performance of duties, (2) whether the agency has published the rule in the Code of Federal

Regulations, (3) whether the agency has explicitly invoked its general legislative authority, or (4)

whether the rule effectively amends a prior legislative rule.” Id. A rule is legislative if any one of

these questions is answered in the affirmative. Id. But here, the answer to all four questions is no.

       The statute, by its plain text, prevents certain covered entity hospitals from obtaining 340B

drugs through a group purchasing organization. 42 U.S.C. § 256b(a)(4)(L)(iii). The statute

contains no exceptions for drugs purchased during the initial stage of a product replenishment

process. Id. Release 2013-1 echoes the statutory restriction stating that the group purchasing

prohibition is “violated upon use of a [group purchasing organization] to obtain covered outpatient

drugs and cannot be fixed or cured by subsequently changing the characterization through

accounting or other methods.” Release 2013-1 (AR 087-88). The Agency’s warning that covered

entities who violate the group purchasing prohibition by replenishing group purchased drugs with

340B discounted drugs would be removed from the program is also consistent with the text of the

statute. Release 2013-1 (AR 088). The prohibition on group purchasing is a condition precedent

for hospitals to maintain their status as covered entities, and if a covered hospital took some action




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that disqualified it from maintaining its status as a covered entity, then it would lose its statutory

entitlement to benefit from the 340B Program. See, 42 U.S.C. § 256b(a)(4)(L)(iii),

       The 2013 policy did not modify any aspect of the 340B Program, rather, it reiterated the

“longstanding position that a covered entity enrolled in the 340B Program subject to the [group

purchasing] prohibition and listed on the [Office of Pharmacy Affairs] 340B database may not use

[group purchasing] for covered outpatient drugs at any point in time.” Release 2013-1 (AR 086-

87). The Agency issued the 2013 guidance because questions about the group purchasing

prohibition had arisen “as the marketplace has changed.” Id. (AR 086). Specifically, the Agency

had learned through its “program integrity initiatives” that covered entities had been using the

product replenish model to skirt the prohibition. Id. (AR 087-88). The statute did not contain an

exception for initial purchases made as part of a product replenishment process. Id. Covered

entities that used a replenishment model needed to continue to comply with the group purchasing

prohibition for all purchases and demonstrate their compliance with the prohibition through

auditable records. Id. (AR 088). In short, because the statute itself provides the “legislative basis

for enforcement action,” a legislative rule is not necessary. Am. Mining Cong., 995 F.2d at 1112.

       The remaining questions in Am. Mining Cong., 995 F.2d at 1112 are even more easily

answered in the negative. The Agency has not published a rule in the Code of Federal Regulations.

The Agency also has not “explicitly invoked its general legislative authority.” Id. On the contrary,

the Agency “lacks rulemaking authority over the section 340B program,” and thus could not issue

a legislative rule pertaining to the group purchasing prohibition. Novartis Pharms. Corp. v.

Johnson, 102 F.4th 452, 459 (D.C. Cir 2021). Finally, the Agency’s decision does not “amend[]

a prior legislative rule” because there is no prior legislative rule to amend. Am. Mining Cong., 995




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F.2d at 1112. Accordingly, because Release 2013-1 was an interpretive rule, the Agency was not

required to promulgate it through notice and comment rulemaking.

III.    The Agency’s Refusal to Revoke the 2013 Policy or Exempt Plaintiff Was not
        Arbitrary and Capricious.

        The Agency’s decision not to maintain the 2013 Policy Release and decline to Plaintiff an

exemption to the Policy Release is not arbitrary and capricious. 5 U.S.C. § 706(2)(A); Tourus

Records, Inc. v. Drug Enforcement Admin., 259 F.3d 731, 736 (D.C. Cir. 2001). Under the APA,

an agency action may be arbitrary and capricious if the agency offered an explanation for its

decision that runs counter to the evidence before the agency or is so implausible that it could not

be ascribed to a difference in view or agency expertise. Escobedo v. Green, 602 F. Supp. 2d 244,

248 (D.D.C 2009) (citing Motor Veh. Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29,

43 (1983)). “As the Supreme Court has explained, ‘the scope of review under the arbitrary and

capricious standard is narrow and a court is not to substitute its judgment for that of the agency.’”

Id. Although the court’s review under the “arbitrary and capricious” standard is “searching and

careful,” it is also “narrow.” Marsh v. Or. Natural Res. Council, 490 U.S. 360, 377-78 (1989); see

also Citizens to Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971). The ultimate question

under this narrow standard of review is whether the agency’s action was reasonable.                Fed.

Commc’n Comm’n v. Fox Television Stations, 556 U.S. 502, 514-15 (2009). Here, the group

purchasing prohibition is an eligibility condition for certain hospitals to qualify as a covered entity.

42 U.S.C. § 256b(a)(4)(L)(iii). Because the statute requires the Agency to enforce the prohibition,

the Agency’s decision refusing to revoke the 2013 Policy Release or exempt Plaintiff’s proposed

arrangement from the prohibition is reasonable and thus cannot be arbitrary and capricious. AR

272.




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       Plaintiff argues that the Agency’s application of the group purchasing prohibition to initial

purchases of covered outpatient drugs frustrates the statute’s purpose to help covered entities

stretch their resources. Pl. Mot. at 23 (citing H.R. Rep. No. 102-384, pt. 2, 12). But the Court

cannot overlook the text of the statute to determine whether a particular provision is consistent

with the purpose of the statute. As the Supreme Court explained, “the text of a law controls over

purported legislative intentions unmoored from any statutory text. The Court may not ‘replace the

actual text with speculation as to Congress’ intent.’” Oklahoma v. Castro-Huerta, 597 U.S. 629,

642 (2022) (quoting, Magwood v. Patterson, 561 U. S. 320, 334, (2010)); see also, Oncale v.

Sundowner Offshore Servs., Inc., 523 U.S. 75, 79 (1998) (“the provisions of our laws rather than

the principal concerns of our legislators by which we are governed.”). A disproportionate share

hospital that chooses to participate in the 340B program as a covered entity cannot purchase

covered outpatient drugs through a group purchasing organization. Release 2013-1 (AR 086-87)

42 U.S.C. § 256b(a)(4)(L)(iii).

       Moreover, the legislative history demonstrates that Congress was aware that participating

in group purchasing arrangements would be beneficial to covered entities but specifically sought

to prevent covered entities from purchasing any 340B drugs through group purchasing

organizations. H.R. Rep. No. 102-384, pt. 2, at 14-15. The House Energy and Commerce

Committee recognized that disproportionate share hospitals could use group purchasing for non-

340B purchases but explained that the eligibility criteria meant that the Secretary could not certify

a disproportionate share hospital as a covered entity if “the hospital purchases any covered

outpatient drug through a group purchasing organization or other group purchasing arrangement

during the period for which certification is sought.” Id.




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       To the extent this prohibition requires covered entities to pay higher upfront costs for initial

purchases as part of a replenishment model, these higher costs are not due to the group purchasing

prohibition but rather because the covered entity has chosen to opt into a product replenishment

model. Importantly, covered entities began using the product replenishment model of their own

volition, not because the Agency required them to use this model. Release 2013-1 (AR 087). A

covered entity need not accept an arrangement, like the product replenishment model, where it

needs to make some purchases without the 340B discount. Id. A covered entity that meets the

340B eligibility criteria is supposed to be able to purchase covered outpatient drugs at the 340B

price. Id. The Agency has advised covered entities that if they are unable to “purchase a covered

outpatient drug at the 340B price, written notification should be sent to [the Office of Pharmacy

Affairs] immediately detailing the covered outpatient drug(s) involved, the manufacturer, and the

process by which the entity was notified that the purchase could not be made.” Release 2013-1

(AR 087). The Agency “reviews all allegations brought to [its] attention to ensure compliance

with program requirements.” Id. A manufacturer’s refusal to provide a 340B discount to a covered

entity can result in enforcement actions including termination of the manufacturer’s

Pharmaceutical Pricing Agreement. 42 U.S.C. § 1396r-8(b)(4)(B)(v).

       In short, to the extent that the Agency’s enforcement of the group purchasing prohibition

frustrates a covered entity’s ability to obtain discounted drugs, a covered entity can remedy that

problem itself by opting for a purchasing model other than the product replenishment model. As

just one potential solution, a covered entity could purchase all drugs that it intends to dispense to

340B patients by obtaining the 340B discount upfront. Indeed, the Agency has long envisioned

upfront discounts as the preferred 340B price reduction mechanism, noting that “[c]overed entities




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generally preferred a discount system, because they could negotiate lower prices and needed less

initial outlay of drug purchasing money.” 62 Fed. Reg. 45,823, 45,824 (Aug. 29, 1997).

       Plaintiff argues that the group purchasing prohibition is inconsistent with the “prudent

buyer” principle that the government has adopted in other healthcare contexts. Opp’n at 34. But

the statute does not mention the prudent buyer principle let alone suggest that it can be used to

override the group purchasing prohibition for certain purchases by covered entities that are

otherwise subject to the prohibition. 42 U.S.C. § 256b(a)(4)(L)(iii). By invoking the prudent

buyer principal, Plaintiff is asking the Court to consider a policy argument, but “policy concerns

cannot trump the best interpretation of the statutory text.” Patel v. Garland, 596 U.S. 328, 346

(2022). Moreover, it would be arbitrary and capricious for the Agency to “rel[y] on factors which

Congress has not intended it to consider.” Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43. Because the

prudent buyer principle is not in the text of the statute Congress did not intend for the Agency to

consider it and thus the Agency appropriately did not consider it. Not only does Plaintiff not

dispute that the prudent buyer principle lacks support in the text of the statute, but Plaintiff also

relies on the Medicare Provider Reimbursement Manual to argue that the principle should apply

here. Pl. Mot at 34. The manual concerns the Medicare program, not the 340B Program. See

generally, CMS Provider Reimbursement Manual, I (“This manual provides guidelines and

policies   to   implement     Medicare     regulations.”),    https://www.cms.gov/regulations-and-

guidance/guidance/manuals/paper-based-manuals-items/cms021929 (last visited May 6, 2025).

Plaintiff cites no statutes, cases, or administrative materials that would suggest that the prudent

buyer principle applies in the 340B context.

       Plaintiff argues that the Agency allowed group purchasing for initial purchases prior to the

2013 guidance. Pl. Mot. at 36. Not so. As early as 1994, the Agency advised hospitals subject to




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the group purchasing prohibition that that if they participated in a group purchasing organization,

“or other group purchasing arrangement for covered outpatient drugs, the [hospital] will no longer

be an eligible covered entity and cannot purchase covered outpatient drugs at the section 340B

discount prices.” 59 Fed. Reg. 25,110, 25,111 (May 13, 1994) (AR 084). The guidance did not

make exceptions for initial purchases of drugs as part of a product replenishment model. Id. The

1994 guidance also echoed the 2013 guidance in advising covered entities that the Agency would

investigate and take enforcement action against any participating manufacturers that refuse to sell

covered outpatient drugs at the 340B discount price. Compare id. at 25,111, with Release 2013-1

(AR 087). “This is the proper course for dealing with any manufacturer noncompliance rather

than attempting to compensate for continued noncompliance by disregarding the statutory [group

purchasing] provisions.” 59 Fed. Reg. at 25,111 (AR 084).

       In adopting the 1994 guidance, the Agency acknowledged that it had previously interpreted

the statute to allow hospitals “to participate both in the section 340B discount program and also in

a [group purchasing organization]”. 58 Fed. Reg. 68,922, 68,924 (Dec. 29, 1993) (AR 079). But

the Agency changed course and interpreted the statute to mean that a hospital that “participates in

a group purchasing organization or arrangement for covered outpatient drugs, . . . will no longer

be an eligible covered entity and cannot purchase covered outpatient drugs at the section 340B

discount prices.” Id. This is the interpretation that the Agency has maintained since 1994 because

the group purchasing prohibition is a criterion for a disproportionate share hospital to qualify as a

covered entity thus making literal application of the prohibition “more fully consistent with the

legislative intent.” Id. Congress sought to give hospitals a choice between benefitting from a

340B discount or a group purchasing discount, but the hospitals could not use both to purchase

drugs dispensed to 340B eligible patients. H.R. Rep. No. 102-384, pt. 2, at 14-15. The Agency




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added the section of the 2013 guidance pertaining to replenishment models because it had become

aware “through 340B Program integrity initiatives” that covered entities were using replenishment

models to obtain some 340B drugs through group purchasing. Release 2013-1 (AR 087). Because

the 2013 guidance merely clarifies the 1994 guidance, accepting Plaintiff’s argument that the 2013

guidance should be set aside as arbitrary and capricious would require the Court to also set aside

the 1994 guidance and force the Agency to accept an interpretation that the Agency determined,

more than thirty years ago, was inconsistent with the text and legislative intent of the statute. 58

Fed. Reg. at 68,924 (AR 079).

       Plaintiff claims that from “1994 to 2013, most hospitals used [group purchasing]-based

virtual inventory systems under which initial neutral inventory was purchased on a [group

purchasing] account without any indication from HRSA that such a system ran afoul of the

statute[.]” Pl. Mot at 36. In support of this assertion, Plaintiff cited to Frequently Asked Questions

that the Agency published in 2004. See Disproportionate Share Hospitals, FAQs (Dec. 7, 2004)

(ECF No. 11-11). But these FAQs do not support Plaintiff’s assertion. The FAQs do not mention

“initial neutral inventory” or product replenishment models. Id. The closest the guidance comes

is stating that the Agency “does not require separate inventories” while also suggesting that

covered entities maintain “separate purchasing and dispensing records.” Id., Q-13.

       Finally, Plaintiff argues that the Agency failed to provide an explanation for why it would

not grant Plaintiff an exception to the group purchasing prohibition. Pl. Mot. at 38. But the

Agency’s reasons for denying Plaintiff an exception are self-explanatory, and “an agency does not

need to give even a ‘minimal’ explanation if the reason for a denial is self-explanatory.” 1306

Lounge, LLC v. SBA, Civ. A. No. 22-3320 (RBW) 2024 U.S. Dist. LEXIS 219999, at *21 (D.D.C.

Dec. 5, 2024); Roelofs v. Sec'y of Air Force, 628 F.2d 594, 600 (D.C. Cir. 1980) (“There is an




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exception to [5 U.S.C. § 555(e)] when the denial is ‘self-explanatory.’”). Here, the Agency’s

decision is self-explanatory because the group purchasing prohibition is a criterion for a

disproportionate share hospital to qualify as a covered entity and the statute does not vest the

Agency with the authority to exempt some group purchasing organizations or covered entities from

the criterion. 42 U.S.C. § 256b(a)(4)(L)(iii); see also, 58 Fed. Reg. at 68,924 (AR 079). Because

Plaintiff sought an exemption from a statutory criterion, the Agency’s denial is in “such a form

that its mere denial fully informs the party of all he would otherwise be entitled to have stated. ”

Roelofs, 628 F.2d, at 600 n.33.

       Under APA review, the question for this Court is whether the agency adequately explained

its decision or if the decision “may be reasonably discerned.” Bowman Transp., Inc. v. Ak.-Best

Freight Sys., Inc., 419 U.S. 281, 286 (1974); see also Xcel Energy Servs. Inc. v. FERC, 41 F.4th

548, 557 (D.C. Cir. 2022) (“We will uphold a decision of less than ideal clarity if the agency’s

path may reasonably be discerned.”); see also CSL Plasma Inc. v. Customs & Border Prot., 628

F. Supp. 3d 243, 261 (D.D.C. 2022) (“[A] brief explanation is not arbitrary and capricious just

because of its brevity.”). Here, the Agency considered Plaintiff’s reasons for why the Agency

should revoke the 2013 Policy Release or grant Plaintiff an exemption from the requirements of

the release, but found that taking either action would be inconsistent with the group purchasing

prohibition. AR 268, 271-72. In other words, the Agency “considered all aspects of the problem”

and “cataloged its concerns,” and thus the Agency’s decision was neither arbitrary nor capricious.

Am. Farm Bureau Fed’n v. EPA, 559 F.3d 512, 527 (D.C. Cir. 2009).



                                          *      *      *




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                                     CONCLUSION

       For these reasons, the Court should deny Plaintiff’s motion for summary judgment and

grant summary judgment in Defendants’ favor.

 Dated: May 9, 2025                            Respectfully submitted,

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                                               United States Attorney


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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 PREMIER, INC,

               Plaintiff,

         v.
                                                       Civil Action No. 24-3116 (LLA)
 HEALTH RESOURCES AND SERVICES
 ADMINISTRATION, et al.

               Defendants.


                                   [PROPOSED] ORDER

        UPON CONSIDERATION of Plaintiff’s Motion for Summary Judgment, Defendant’s

Opposition and Cross-Motion for Summary Judgment, and the entire record herein, it is hereby

        ORDERED that Plaintiff’s Motion for Summary Judgment is DENIED, it is

        ORDERED that Defendant’s Cross Motion for Summary Judgment is GRANTED, and it

is further

        ORDERED that summary judgment is granted in Defendant’s favor.



SO ORDERED:



________________                                  ___________________________________
Date                                              LOREN L. ALIKHANN
                                                  United States District Judge
